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             EXHIBIT 43
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         EXHIBIT “N”
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to provide an explanation for when a communication with                 that does not include counsel
contains privileged information and when it does not.
        Despite the ambiguity of BioNTech’s assertion of privilege over some documents involving
             while affirmatively relying on other communications involving                 , BioNTech
alleges that Moderna has committed “violations of the Protective Order.” 2023.12.22 K. Kasraneni
Letter at 6. BioNTech’s sole basis for this claim is that during depositions Moderna introduced
documents that were purportedly labelled “Privileged and Confidential.” 2023.12.22 K. Kasraneni
Letter at 5. But in the very same letter BioNTech contends that marking a document privileged
and confidential is not enough to constitute privilege alone. See 2023.12.22 K. Kasraneni Letter
at n.1. Further, BioNTech was aware of its own production of such documents because Moderna
cited to the parent email of one of these documents in an interrogatory response prior to
deposition. See November 17, 2023 Response to Pfizer Interrogatory No. 3. 2 Moreover, as
BioNTech points out, BioNTech had two days from                    deposition to search its production
for documents similar to the documents it clawed back during                  deposition, yet did not
notify us of any issue with any other documents during this period. That BioNTech failed to do so
is further evidence of its intentional selective waiver of privilege over such documents.
The Documents Identified in Mr. Meuth’s December 22, 2023 Email
       Mr. Meuth’s December 22, 2023 email identifies two privileged documents Defendants
dispute.
        First, Defendants are challenging MOD_000332132, a document that counsel for
BioNTech attempted to introduce during the December 20, 2023 deposition of Dr. de Fougerolles
notwithstanding Moderna’s claw back of the document (see 2023.12.15 J. Salvatore Email to
Counsel) and Pfizer’s confirmation that the document was deleted (see 2023.12.20 D. Anderson
Email to Counsel). As previously explained, this document is “a memorandum requesting or
reflecting legal advice or analysis regarding intellectual property analysis or protection. The
attorney whose advice was requested was                       2023.12.21 J. Salvatore Email to
Counsel). It is Moderna’s understanding that the document reflects legal advice from



2
  BioNTech cannot contend that it was unaware of Moderna’s response to Pfizer’s interrogatory
which asked Moderna to “describe in detail, together with the identity of any supporting documents
or things, the factual basis for Moderna’s allegation that if Pfizer and BioNTech have infringed the
Patents-in-Suit, such infringement was willful.” November 17, 2023 Response to Pfizer
Interrogatory No. 3 (emphasis added). Not only was the original interrogatory provided to
BioNTech on October 18, 2023 by counsel for Pfizer, when Moderna responded to the
interrogatory, it served its response on BioNTech as well. Further, though the interrogatory was
served by Pfizer, it was clearly a contention interrogatory posed on behalf of both defendants.
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while also seeking additional legal advice from            . The document is thus privileged in
full, and Moderna cannot produce a redacted copy of the document.
        Second, Defendants are challenging Moderna’s redactions to MOD_000282515,
redactions that counsel for BioNTech asked about during the deposition of Dr. Schrum. The
redactions are conveying or reflecting legal advice or analysis of Greg Sieczkiewicz regarding
intellectual property analysis or protection. Defendants state that “the deposition of Dr. Schrum
of December 19 has shown that Schrum Ex. 13 … was improperly redacted.” 12/22/23 Meuth
Email. Tellingly, though, Defendants have provided no reason why these redactions are improper,
and do not even cite to any particular portion of Dr. Schrum’s deposition. To the contrary, Dr.
Schrum testified that Greg Sieczkiewicz, a lawyer from whom he received legal advice for
Moderna, provided input on the document. See Schrum Tr. 353:8-16, 356:17-357:11. If
Defendants have some basis for the claim that the redactions are improper, provide it.
      We trust that this additional information resolves Defendants’ concerns identified in Mr.
Meuth’s December 22, 2023 email.

Sincerely,

/s/ Annaleigh E. Curtis


Annaleigh E. Curtis
